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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

DAVID CODREA, et al.                )
                                    )
      Plaintiffs,                   )
      v.                            )
                                    ) Civil Action No. 18-cv-3086-DLF
BUREAU OF ALCOHOL, TOBACCO,         )
FIREARMS AND EXPLOSIVES, et al.     )
                                    )
      Defendants.                   )
____________________________________)


                                NOTICE OF APPEAL

       Come now David Codrea, Scott Heuman and Owen Monroe (“Plaintiffs”) and

hereby appeal to the United States Court of Appeals for the District of Columbia, from the

Order denying Plaintiffs’ Motion for Preliminary Injunction and Memorandum associated

with said entry [Docket Nos. 21 & 22] entered on February 25, 2019.

       Plaintiffs would further request expedited treatment in this appeal due to the

urgency of the Final Rule going into effect on March 26, 2019.


Dated: February 25, 2019

/s/Stephen D. Stamboulieh                       Alan Alexander Beck
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                             CERTIFICATE OF SERVICE

        I, Stephen D. Stamboulieh, hereby certify that I have filed with the Clerk of this
Court, a true and correct copy of the foregoing document or pleading, utilizing this Court’s
CM/ECF system, which generated a Notice and delivered a copy of this document or
pleading to all counsel of record.


Dated: February 25, 2019.

                                      /s/ Stephen D. Stamboulieh
                                      Stephen D. Stamboulieh




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